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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

CABOT MICROELECTRONICS                        )
CORPORATION,                                  )
                                              )
                      Plaintiff,              )         C.A. No. 20-738-MN
                                              )
              v.                              )
                                              )
DUPONT DE NEMOURS, INC., et al.,              )
                                              )
                      Defendants.             )

                    STIPULATION AND ORDER TO EXTEND TIME

       IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff Cabot

Microelectronics Corporation (“Plaintiff”) and Defendants DuPont de Nemours, Inc., Rohm and

Haas Electronics Materials CMP Inc., Rohm and Haas Electronic Materials CMP Asia Inc. (d/b/a

Rohm and Haas Electronic Materials CMP Asia Inc., Taiwan Branch (U.S.A.)), Rohm and Haas

Electronic Materials Asia Pacific Co. Ltd., Rohm and Haas Electronic Materials K.K., and Rohm

and Haas Electronic Materials LLC (“Defendants”), through their undersigned counsel, subject to

the Court’s approval, Defendants’ time to answer or otherwise respond to the Complaint in the

above-captioned action shall be extended to July 22, 2020.
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                                                     Respectfully submitted,
SHAW KELLER LLP                                      POTTER ANDERSON & CORROON LLP

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                                                     Attorneys for Defendants DuPont de Nemours,
                                                     Inc., Rohm and Haas Electronics Materials
                                                     CMP Inc., Rohm and Haas Electronic
                                                     Materials CMP Asia Inc. (d/b/a Rohm and
Dated: June 18, 2020                                 Haas Electronic Materials CMP Asia Inc.,
6763111 / 50287                                      Taiwan Branch (U.S.A.)), Rohm and Haas
                                                     Electronic Materials Asia Pacific Co. Ltd.,
                                                     Rohm and Haas Electronic Materials K.K.,
                                                     and Rohm and Haas Electronic Materials LLC

       IT IS SO ORDERED, this _________ day of June, 2020.


                                                      ________________________________
                                                                 U.S.D.J.




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